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                                   CERTIFICATE OF SERVICE

          I hereby certify that on December 12, 2018, a copy of the foregoing Notice of Service of

  Discovery was filed and served electronically via CM/ECF upon the counsel listed below.

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